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                          UNITED STATES DISTRICT COURT
7
                        CENTRAL DISTRICT OF CALIFORNIA
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10    MARIA B.,                                    Case No. EDCV 20-192-KK
11                             Plaintiff,
12                       v.                        JUDGMENT
13    ANDREW SAUL, Commissioner of
      Social Security,
14
                               Defendant.
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17         Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is REVERSED,
19   and this action is REMANDED for further administrative proceedings.
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21   Dated: October 30, 2020
22                                            HONORABLE KENLY KIYA KATO
                                              United States Magistrate Judge
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